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                                                                                              FILED
                                                                                        U.S. District Court
                                                                                        District of Kansas

                                                                                         JUL 2 5 2022
                          IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF KANSAS     Clerk, U.~. District Court
                                                                             By / .--   N~           Deputy Clerk


UNITED STATES OF AMERICA,                     )      CRIMINAL ACTION
               Plaintiff,                     )
                                              )      Case No.: 21-10068-02-JWB
vs.                                           )
                                              )      PETITION TO ENTER PLEA OF
                                              )      GUILTY AND ORDER ENTERING
THOMMIE-L YN STANSKY,                         )      PLEA
               Defendant.                     )      [Federal Rules of Criminal
______________                               )       Procedure, Rules 10 and 11]

The defendant represents to the Court:

        (1) My full true name is Thommie-Lyn Stansky. I am 28 years of age. I have gone to school
up to and including completion of an Associates Degree. I request that all proceedings against me be in
my true name.

       (2) I am represented by a lawyer. Her name is Kari S. Schmidt. She is a court appointed
lawyer and her Kansas Supreme Court License Number is 11524.

       (3) I received a copy of the Indictment (including any superseding Indictment or superseding
Information referred to herein as "Indictment") before being called upon to plead. I read the Indictment
and have discussed it with my lawyer. I fully understand every charge made against me.

        (4) I told my lawyer all the facts and circumstances known to me about the charges made
against me in the Indictment. I believe that my lawyer is fully informed on all such matters.

        (5) I know that the Court must be satisfied that there is a factual basis for a plea of "GUILTY"
before my plea can be accepted. I represent to the Court that I did the following acts in connection with
the charges made against me in Count 1 and Count 2 of the Indictment.

                                             Count 1

              Commencing about February 1, 2021 and ending about August 23, 2021, in the
       District of Kansas, I did knowingly conspire with another person to use Minor Victim 1 to
       engage in sexually explicit conduct for the purpose of producing a visual depiction of such
       conduct, and knowing and having reason to know that such visual depiction would be
       produced using materials that had been mailed, shipped, and transported in and affecting
       interstate commerce, and knowing such visual depiction would be transmitted using a
       means or facility of interstate commerce (a cell phone digital camera function) and in and


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        affecting interstate commerce, and such visual depiction was transmitted using a means or
        facility of interstate commerce and in and affecting interstate commerce in violation of 18
        U.S.C. §§ 2251(a) and (e).
                                               Count2

               Commencing about May 1, 2021 and ending about August 23, 2021, in the District of
       Kansas, I did knowingly conspire with another person to use Minor Victim 2 to engage in
       sexually explicit conduct for the purpose of producing a visual depiction of such conduct,
       and knowing and having reason to know that such visual depiction would be produced
       using materials that had been mailed, shipped, and transported in and affecting interstate
       commerce, and knowing such visual depiction would be transmitted using a means or
       facility of interstate commerce (a cell phone digital camera function) and in and affecting
       interstate commerce, and such visual depiction was transmitted using a means or facility of
       interstate commerce and in and affecting interstate commerce in violation of 18 U.S.C. §§
       225l(a) and (e)

         (6) My lawyer has counseled and advised me on the nature of each charge, on all lesser
included charges, and on all possible defenses that I might have in this case including the consequences
of filing or not filing a suppression motion and how that decision might impact the Government's
willingness to offer me a plea agreement.

        (7) I know that I have the right to plead "NOT GUILTY" to any offense charged against me. If
I plead "NOT GUILTY" I know the Constitution guarantees me: (a) the right to a speedy and public trial
by a jury; (b) at that trial, and at all stages of the proceedings, the right to the assistance of a lawyer; (c)
the right to see and hear all witnesses called to testify against me, and the right to cross-examine those
witnesses; (d) the right to use the power and process of the Court to compel the production of any
evidence, including the attendance of any witnesses in my favor; and, (e) the right not to be compelled to
incriminate myself by taking the witness stand; and if I do not take the witness stand, no inference of
guilt may be drawn from such failure. If I plead "NOT GUILTY" I also know that I have the rights
outlined above at the sentencing phase of my proceedings and that in addition, the Constitution provides
me: (a) a right to have a jury find all facts, including all facts that determine the offense level under the
United States Sentencing Guidelines alleged in the Indictment; and, (b) to have a jury find those
sentencing factors beyond a reasonable doubt.

        (8) I know that ifl plead "GUILTY," and the Judge accepts my plea, except as provided in
paragraph (5) of the plea agreement, I am thereby waiving my right to a trial, and that there will be no
further trial of any kind, either before a Court or jury.

       (9) I know that if I plead "GUILTY," I am waiving my right to appeal the denial of any pretrial
motions I may have advanced in my case, unless they have been expressly preserved by a conditional
plea agreement approved by the United States and the judge in my case.

       (10) I know that ifl plead "GUILTY," I am waiving the right to appeal my conviction or
sentence in my case unless they have been expressly preserved by a conditional plea agreement approved


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by the United States and the judge in my case, or as is excepted in paragraph (13) of the plea agreement.

       (11) I know that ifl plead "GUILTY," the Court will ask me questions about the offense(s) to
which I have pleaded, and since I will be answering these questions under oath, on the record, and in the
presence of my lawyer, that my answers may later be used against me in a prosecution for perjury or false
statement.

        (12) My lawyer informed me that the plea of "GUILTY" on COUNT ONE could subject me to
a mandatory minimum sentence of 15 years and a maximum of 30 years imprisonment, a mandatory fine
of $0 not to exceed $ 250,000.00, at least 5 years supervised release with a maximum of supervised
release for life, a $100 mandatory special assessment pursuant to 18 U.S.C. §3013, an additional
assessment ofup to $50,000.00 pursuant to 18 U.S.C. §2259A(a)(3), an additional assessment of
$5000.00 pursuant to 18 U.S.C. §3014, and restitution pursuant to 18 U.S.C. §2259.

                 My lawyer informed me that the plea of"GUILTY" on COUNT TWO could subject me
to a mandatory minimum sentence of 15 years and a maximum of 30 years imprisonment, a mandatory
fine of $0 not to exceed $ 250,000.00, at least 5 years supervised release with a maximum of supervised
release for life, a $100 mandatory special assessment pursuant to 18 U.S.C. §3013, an additional
assessment of up to $50,000.00 pursuant to 18 U.S.C. §2259A(a)(3), an additional assessment of
$5000.00 pursuant to 18 U.S.C. §3014, and restitution pursuant to 18 U.S.C. §2259.

            My lawyer informed me that the judge could impose the sentences on Count One
and Count Two to run concurrently or to run consecutively.                          ·-"< .. A
                                                       3 ~~CQ.uA.+~~k1nt~~"-
               I have been informed that should the Court find me in violation of the supervised rele~       '>:s-    1


term, the term could be revoked and an additional term of imprisonment not to exceec!)-'1ears. I also      A/ 9,, Q,,,
understand that if I have 3 positive drug tests while on supervised release, I can be returned to prison. ~ l l
have been informed that the Court may order me to make restitution in compliance with 18 U.S.C. §
3663 and §3664 or as a condition of supervision, if such is ordered under 18 U.S.C. §3563, in addition to
any other penalty provided by law. I further understand that because I am pleading "GUILTY" to an
offense which is subject to the Sentencing Reform Act, I cannot be released on parole and, if
imprisonment is ordered in my case, the sentence imposed by the Court will be the sentence I serve less
any good time credit if I earn it.

        (13) I know that in addition to any other penalty imposed, including any fine or restitution
order, the Court is required to impose a special monetary assessment in the amount of $100.00 for each
felony count in which the offense occurred after April 24, 1996. I UNDERSTAND THIS SPECIAL
ASSESSMENT MUST BE PAID AT THE TIME OF THE SENTENCING HEARING UNLESS THE
COURT DIRECTS OTHERWISE.

       (14) I know that the Court may also order, in addition to the penalty imposed, that I give
reasonable notice and explanation of the conviction, in such form as the court may approve, to the
victims of the offense.



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       (15)    I am a United States' citizen.

       (16) I was not on probation or parole in any case at the time of my guilty plea herein.

       (17) I declare that no officer or agent of any branch of government (federal, state, or local) has
promised, suggested, or predicted that I will receive a lighter sentence, or probation, or any other form of
leniency ifl plead "GUILTY," except as follows:

       My attorney did discuss how the statutes and United States Sentencing Guidelines may apply in
       my case. If anyone else, including my attorney, made such a promise, suggestion, or prediction,
       except as noted in the previous sentence, I know that person had no authority to do so.

        I know that the sentence I will receive is solely a matter within the control of the Judge. I
understand there is no limitation on the information the judge can consider at the time of sentencing
concerning my background, character, and conduct, provided the information is reliable, 18 U.S.C.
§3661. I understand that if I am subject to sentencing under the Sentencing Reform Act and the
Sentencing Guidelines issued by the United States Sentencing Commission, the Judge will establish a
sentencing guideline range. The Judge may select a sentence from within the guideline range or may
depart from the guidelines and impose a sentence either above or below the recommended guideline
range. In determining the guideline range, whether to depart, and the sentence to impose, the Court may
take into account all relevant criminal conduct, which may include counts to which I have not pied guilty
or been convicted and take into account background characteristics, unless otherwise prohibited by law.
I further understand that my background characteristics including, but not limited to, the recency and
frequency of my prior criminal record, whether or not a substantial portion of my income resulted from
criminal conduct, my role in the offense, victim-related circumstances, and my acceptance of
responsibility for the offense, may have a specific effect on the sentence.

         I further understand that ifl am subject to sentencing by or serving any other sentence, federal or
state, the judge in this case may impose my sentence to run consecutive to any other sentence.

       I hope to receive leniency, but I am prepared to accept any punishment permitted by law which
the Court sees fit to impose. However, I respectfully request the Court to consider, in mitigation of
punishment, that I have voluntarily entered a plea of "GUILTY."

         (18) I understand that a U.S. Probation Officer will be assigned to conduct a thorough
presentence investigation to develop all relevant facts concerning my case unless the court finds that
there is in the record sufficient information to enable the meaningful exercise of sentencing authority
pursuant to 18 U.S.C. §3553. The report of the presentence investigation shall contain the factors set
forth in Rule 32. These include the recommended classification of the offense and of the defendant
under the categories established by the Sentencing Commission, the kinds of sentences available to the
Court, and the sentencing range the officer recommends. The report shall include the history and
characteristics of the defendant and such other information required by the court recognizing the factors
set forth in paragraph (17) above.



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      ( 19) My plea of "GUILTY" is the result of a plea agreement entered into between the
Government attorney, my attorney, and me.

      Since my plea of "GUILTY" is the result of a plea agreement, I hereby state that the terms of said
agreement are as follows:

        See attached Plea Agreement.

        I fully understand that the court is not bound by the terms of the plea agreement, and may accept
or reject it. If the Court rejects the agreements, I also understand the court will NOT give me the
opportunity to withdraw my plea of guilty, unless the plea agreement, signed by all parties, is executed in
accordance with Federal Rules of Criminal Procedure, Rule 1 l(c)(l)(A) or Rule 1 l(c)(l)(C).

     (20) I believe that my lawyer has done all that anyone could do to counsel and assist me, AND I
AM SATISFIED WITH THE ADVICE AND HELP SHE HAS GIVEN ME.

        (21) I know that the Court will not permit anyone to plead "GUILTY" who maintains he or she
is innocent and, with that in mind, and because I am "GUILTY" and do not believe I am innocent, I wish
to plead "GUILTY" and respectfully request the Court to accept my plea of "GUILTY" and to have the
Clerk enter my plea of "GUILTY" as follows:

        GUILTY TO COUNT ONE OF THE INDICTMENT CHARGED PURSUANT TO 18
        U.S.C. §§ 2251(a) and (e).

        GUILTY TO COUNT TWO OF THE INDICTMENT CHARGED PURSUANT TO 18
        U.S.C. §§ 2251(a) and (e).

       (22) My mind is clear, I am not under the influence of alcohol or drugs, and I am currently not
under a doctor's care. The only drugs, medicines or pills that I took within the past seven (7) days are:

                Cymbalta,a pre-natal vitamin for anemia, and a cranberry pill.

        (23) I have never been confined in any institution for the treatment of mental illness. I have
never been adjudicated mentally incompetent. No psychiatrist, physician, or psychologist has ever found
me to be mentally ill. I know of no reason why my mental competence at the time of the commission of
the alleged offense(s), or at the present time, should be questioned. (If there are any exceptions to the
above statement, explain below.)                           ,                                           .. 1. ~,.,\.
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                4-ve~si4-. ++-cl Of J          LL{)-\-- t V\,l ~ll..~y   ~i !NJ.)l_\et.'   (!_j,''")\_{
       (24) I offer my plea of"GUILTY" freely and voluntarily, and further state that my plea of ~
                                                                                                          ~¼u_q '
"GUILTY" is not the result of any force or threats against me, or of any promises made to me other tha;             'VJ
those noted in this petition. I further offer my plea of "GUILTY" with full understanding of all the
matters set forth in the Indictment and in this petition, and in the certificate of my attorney which is


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attached to this petition.

        (25) I waive the reading of the Indictment in open court, and I request the Court to enter my
plea of "GUILTY" as set forth in paragraph (21) of this petition.

        (26) I swear that I have read, understood, and discussed with my attorney, each and every part
of this Petition to Plead Guilty, and that the answers which appear in every part of this petition are true
and correct.

\    \ Signed and Sworn to by me in open court, in the presence of my attorney, this    2- S--   day of
~'-.) '-0i ,2022.                                     ,             -

                                             :I:ilo,~
                                                         day of __~~~_u_'l--+----' 2022.
        Subscribed and Sworn to before me this _:)5_,,th.-_


                                                      5,}2oJ-
                                              (Deputy Clerk)




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                                CERTIFICATE OF COUNSEL

      The undersigned, as lawyer and counselor for the defendant, Thommie-Lyn Stansky
Gomez, hereby certifies:

       ( 1)    I have read and fully explained to the defendant the allegations contained in the
Indictment in this case.

        (2)   To the best of my knowledge and belief, the statements, representations and
declarations made by the defendant in the foregoing petition are in all respects accurate and true.

       (3)     I explained the maximum penalty for each count to the defendant.

       (4)   The plea of"GUILTY" offered by the defendant in paragraph (21) accords with
my understanding of the facts the defendant related to me and is consistent with my advice to the
defendant.

       (5)     In my opinion, the defendant's waiver of reading of the Indictment or Superseding
Information in open court as provided by Rule 10 is voluntarily and understandingly made, and I
recommend to the Court that it accept the waiver.

        (6)      In my opinion, the plea of "GUILTY" offered by the defendant in paragraph (21)
of the petition is voluntarily and understandingly made. I recommend that the Court accept the
plea of"GUILTY."

       (7)    I have made no predictions or promises to the defendant concerning any sentence
the Court may award and I have discussed with my client how the United States Sentencing
Guidelines may apply in this case.

        (8)     I further represent to the Court that the defendant's plea of"GUILTY" is the result
of a plea agreement. The terms of the agreement are set out in paragraph (19) of the petition, and
I have informed the defendant that the Court is not bound by the terms of the agreement and that
if the Court rejects the agreement, the Court will not give the defendant the opportunity to
withdraw the plea of"GUILTY," unless the plea agreement, signed by all parties, is executed in
accordance with Federal Rules of Criminal Procedure, Rule l l(c)(l)(A) or Rule l l(c)(l)(C).

        Signed by me in open court in the presence of the defendant above named and after full
discussion of the contents of this certificate with the defend_Jnt, ~is ~ d a y of::SV.l:j , 2022.

                                          \ ,~,,,cf-. lctJuutfv'
                                              KARI S. SCHMIDT, Sup. Ct. No. 11524
                                              Attorney for Defendant
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                                             ORDER

       I find that the defendant is fully competent and capable of entering a plea of guilty; that

the defendant understands the charge(s); that the defendant's plea of guilty is being made freely,

voluntarily, and because he/she is guilty as charged; that the defendant's guilty plea is not the

result of ignorance, fear, inadvertence or coercion, and that it is made with full understanding of

the consequences; that the defendant's guilty plea is not the result of any promises (except those

specifically set forth in the plea agreement); and that there exists a factual basis for the plea as

relates to each essential element of the offense(s). Therefore, I accept the defendant's guilty

plea. I will defer my decision on whether to accept the plea agreement until after I have

reviewed the presentence report. If I sentence the defendant, the parties may assume that I have

accepted the plea agreement. A presentence investigation is ordered to be made.

       Done in open court this ~ ~ ay of~              , 2022_._ _ __




                                                                       TES DISTRICT JUDGE
